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                   EXHIBIT 7
PL003996 December 13, 2016 Emails Between
        Ina Albert and Tanya Gersh
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   To:          ina Abera                     |
   From:        tonyagersh@gmail.com
=
Sent on behalf of: Tanya Gersh
   Sent:        Tue 12/13/2016 3:27:43 PM
   Importance:            Normal
   Subject:     Re: Thank You!!!
   Received:              Tue 12/13/2016 3:27:43 PM


   Sorry that news program hadto drag us into being associated with that sort of publicity. I was devistated when I heard
   Spencer's quote on Love Lives Here and how the newscaster spun it and made you haveto defend the organization. He took
   an email I sent to the Human Rights Network (that I was dumb enough to forward to him) and madethe story. I'm nervous
   about becoming a target now...


   On Dec 11, 2016 2:58 PM, "Ina Albert" (I                                 wrote:

     Dear Tanya and Judah,
     Friday night would not have been possible without you. Thanks you so much for making magic happen for all of us. | was a night | will not
     forget. Seeing youlighting the candles with your children in front of our Whitefish friends. Hearing the story of Chanukah told to a willing
     and receptive audience. Hearing Christmas and Chanukah music played together and everyone participating in both. What a night!


   Thank you both for being open to the possibility that it was andis.


   Maywe be together soon again.


   Best thoughts and blessings, Ina


   Ina Albert




   Whitefish, MT 59937
   www.AgingGloriously.com




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